
7 So.3d 597 (2009)
Monier Mahmoud RAHALL, Appellant,
v.
Mohana Cheaib RAHALL, Appellee.
No. 2D07-4806.
District Court of Appeal of Florida, Second District.
March 20, 2009.
Rehearing Denied May 7, 2009.
Jane H. Grossman of Law Office of Jane H. Grossman, St. Petersburg, for Appellant.
No appearance for Appellee.
PER CURIAM.
Affirmed.
WHATLEY, J., and CASE, JAMES R., Associate Senior Judge, Concur.
VILLANTI, J., Concurs with opinion.
VILLANTI, Judge.
I fully concur in the decision to affirm the final judgment entered in this case but write to commend the trial court, whose final judgment is an outstanding example *598 of a meticulously-crafted analysis under section 61.075, Florida Statutes.
It is apparent from the record that the former husband engaged in a predissolution lifestyle strategy that was designed to thwart a court of equity from doing justice, if and when the time came, between the former husband and his wife. Oftentimes, such devious behavior goes undiscovered by the trial court, or the careful façade created by one party is the only "reality" permitted in evidence. Here, the trial court went to great efforts to unravel "[t]he Respondent's financial dealings, [a] proverbial `riddle, wrapped in a mystery, inside an enigma.'" This was no easy task. Thus, I commend the trial court for its insight, patience, and valiant ability to do justice despite the numerous obstacles placed in its path by the former husband.
